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 19                         IN THE UNITED STATES DISTRICT COURT
 20
                              CENTRAL DISTRICT OF CALIFORNIA
 21

 22
       MATTHEW          BLANCO           and Case No. 5:17-CV-00994-R-DTB
 23    RICHARD ROYCE, et al., on behalf of
       themselves and all similarly situated STIPULATION FOR APPROVAL
 24    individuals,
                                             OF SETTLEMENT AGREEMENT
 25                       Plaintiffs,        AND        DISMISSAL       WITH
       v.                                    PREJUDICE
 26
       CITY OF RIALTO,
 27
                              Defendant.
 28

 30        STIPULATION FOR APPROVAL OF
           SETTLEMENT AGREEMENT AND DISMISSAL        1
 31   01180.0042/426732.1
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  1    AMBER JONES, et al.,                       Case No. 5:17-CV-01514-R (AGRX)
  2
                              Plaintiffs,
  3    v.
  4
       CITY OF RIALTO,
  5

  6                           Defendant.

  7
               The parties to the above-captioned actions stipulate as follows:
  8
      1.       WHEREAS, the above referenced putative collective action and related case
  9
      under the Fair Labor Standards Act (“FLSA”) were filed on May 18, 2017 (Case No.
 10
      5:17-CV-00994) (“Blanco Action”) and July 28, 2017 (5:17-CV-01514) (“Jones
 11
      Action”), alleging that Defendant violated the overtime payment provisions of FLSA.
 12
      As used herein both actions shall be collectively referred to as “Actions.”
 13
      2.       WHEREAS, a Notice of Related Case was filed on July 28, 2017, and the
 14
      Jones Action was reassigned to this Court.
 15
      3.       WHEREAS, Plaintiffs in both Actions (collectively "Plaintiffs") are presently
 16
      or were previously employed by the City of Rialto ("Defendant"). Plaintiffs and the
 17
      Defendant shall be collectively referred to as "Parties" herein.
 18
      4.       WHEREAS, the Court has jurisdiction over the subject matter of the Actions
 19
      and over the Parties.
 20
      5.       WHEREAS, the Complaints in both Actions allege that Defendant owes back
 21
      overtime pay to Plaintiffs and similarly situated former and/or current employees
 22
      because Defendant allegedly did not include compensation paid to employees in lieu
 23
      of health benefits or cafeteria plan contributions into the regular rate of pay used to
 24
      compensate FLSA overtime hours;
 25
      6.       WHEREAS, the Complaints in both Actions seek to recover this allegedly-
 26
      owed unpaid overtime compensation, as well as liquidated damages, attorney’s fees,
 27
      and costs on behalf of Plaintiffs and all those similarly situated;
 28

 30         STIPULATION FOR APPROVAL OF
            SETTLEMENT AGREEMENT AND DISMISSAL      2
 31   01180.0042/426732.1
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  1   7.       WHEREAS, Defendant has filed Answers to the operative Complaints in both
  2   Actions denying Plaintiffs’ allegations and asserting affirmative defenses to the
  3   claims for relief set forth therein;
  4   8.       WHEREAS, a bona fide dispute exists between the Parties as to Defendant’s
  5   liability and the extent thereof under the FLSA in both Actions;
  6   9.       WHEREAS, the Parties have engaged in extensive negotiations in good faith
  7   in an attempt to resolve their differences, and throughout these negotiations all Parties
  8   were, and continue to be, represented by counsel experienced in labor and
  9   employment matters;
 10   10.      WHEREAS, the Parties wish to avoid the uncertainty, expense and delay of
 11   litigation and have therefore reached an agreement. The terms of the Parties’
 12   agreement are embodied in the Settlement Agreement and General Release
 13   ("Settlement Agreement") that all Parties have executed. A copy of the Settlement
 14   Agreement is attached hereto and incorporated herein. By entering into this
 15   Settlement Agreement, Defendant does not admit, and continues to expressly deny,
 16   any liability for the claims alleged in the Actions;
 17   11.      WHEREAS, courts have determined that the provisions of the FLSA are
 18   mandatory and cannot generally be waived by contract or otherwise—unless the
 19   settlement agreement is approved by the Court or the Department of Labor. (See,
 20   e.g., Lynn's Food Stores, Inc. v. United States, 679 F.2d 1350, 1352 (11th Cir. 1982));
 21   12.      WHEREAS, however, when employees bring a private action for
 22   compensation under the FLSA, and present the district court a proposed settlement,
 23   the district court may enter a judgment after reviewing the settlement for fairness.
 24   (Id. at p. 1353.) If the proposed settlement reflects a reasonable compromise over
 25   issues that are actually in dispute, the Court has the power to approve the settlement
 26   “to promote the policy of encouraging settlement of litigation.” (Id. at 1354);
 27   13.      WHEREAS, district courts in the Ninth Circuit follow Lynn’s Food Stores.
 28

 30         STIPULATION FOR APPROVAL OF
            SETTLEMENT AGREEMENT AND DISMISSAL     3
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  1   (Selk v. Pioneers Memorial Healthcare District, 159 F.Supp.3d 1164, 1172 (S.D.
  2   Cal. 2016) (FLSA claims may be waived through court supervised settlement
  3   agreement) (citation omitted); Nen Thio v. Genji, LLC, 14 F.Supp.3d 1324, 1333–34
  4   (N.D. Cal. 2014) (court has the power to approve FLSA settlement that is “a fair and
  5   reasonable resolution of a bona fide dispute”) (citation omitted));
  6   14.      WHEREAS, Plaintiffs’ counsel in both Actions as well as Plaintiffs Blanco
  7   and Royce met with Defendant’s counsel on August 21, 2017 and negotiated a global
  8   settlement of both Actions which included Defendant’s inclusion of cash-in-lieu
  9   payments and cafeteria plan contributions into its employees’ overtime rate;
 10   15.      WHEREAS, the Parties have informally exchanged information in pursuance
 11   of settling the Actions, and believe that the settlement amounts, as well as the method
 12   of calculating the amounts, are fair and consistent with and within the range of the
 13   maximum results Plaintiffs and putative plaintiffs could expect to obtain at trial;
 14   15.      WHEREAS, the Parties believe the agreed-upon amounts to be paid to
 15   Plaintiffs’ counsel are fair and reasonable;
 16   16.      WHEREAS, the Parties jointly request the Court find the settlement to be a
 17   fair, reasonable and just negotiated resolution of a bona fide dispute, and that this
 18   Court approve of the stipulated Settlement Agreement and enter dismissal of both
 19   Actions via an Order;
 20   17.      WHEREAS, by entering into this Stipulation and requesting Court approval,
 21   the Parties do not intend that the Court should make any findings or determination
 22   regarding the law. This Stipulation, and any exhibits and any other documents or
 23   written materials prepared in conjunction with this Stipulation, should not constitute
 24   evidence of, or any admission of, any violation of the FLSA, or any other federal or
 25   state law, regulation, order, or rule by any Party;
 26            IT IS THEREFORE STIPULATED, by and between the Parties, through their
 27   respective counsel, that:
 28

 30         STIPULATION FOR APPROVAL OF
            SETTLEMENT AGREEMENT AND DISMISSAL       4
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  1   1.       The Settlement Agreement contains a fair and just negotiated resolution to the
  2   current disputes between the Parties as set forth in the Actions;
  3   2.       The Court should approve the Settlement Agreement by signing the Order
  4   attached hereto;
  5   3.       The Court should reserve jurisdiction over the Actions for the purposes of
  6   enforcing the Settlement Agreement;
  7   4.       Upon the Court's approval of the Settlement Agreement, the Actions should be
  8   dismissed with prejudice.
  9
      Respectfully submitted,
 10
      Dated: November 20, 2017                 MASTAGNI HOLSTEDT, APC
 11

 12                                            By: /s/ David E. Mastagni
                                               DAVID E. MASTAGNI, ESQ.
 13                                            ISAAC S. STEVENS, ESQ.
 14                                            ACE T. TATE, ESQ.
                                               Attorneys for Plaintiffs,
 15
                                               Matthew Blanco, et al.
 16
      Dated: November 20, 2017                 DAMMEIER LAW FIRM
 17

 18                                            By: Dieter C. Dammeier
                                               DIETER C. DAMMEIER, ESQ.
 19
                                               Attorneys for Plaintiffs,
 20                                            Amber Jones, et al.
 21
      Dated: November 20, 2017                 ALESHIRE & WYNDER, LLP
 22
                                               By: Christine M. Carson
 23
                                               CHRISTINE M. CARSON, ESQ.
 24                                            Attorneys for Defendant
 25

 26
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 30        STIPULATION FOR APPROVAL OF
           SETTLEMENT AGREEMENT AND DISMISSAL      5
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  1                              SIGNATURE ATTESTATION
  2            I hereby attest that I have obtained the authorization from the signatories to
  3   this e-filed document and have been authorized to indicate their consent by a
  4   conformed signature (/s/) within this e-filed document.
  5

  6                                            By: /s/ David E. Mastagni
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 30        STIPULATION FOR APPROVAL OF
           SETTLEMENT AGREEMENT AND DISMISSAL      6
 31   01180.0042/426732.1
